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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO



 VALUE DRUG COMPANY, on behalf of
 itself and all others similarly situated,
                                                    Misc. Case No. 1:22-mc-00013
 v.

 TAKEDA PHARMACEUTICALS U.S.A.,                     Underlying action:
 INC., et al.                                       Case No. 2:21-cv-03500 (E.D. Pa.)




  VALUE DRUG COMPANY’S MOTION TO TRANSFER MOTION TO COMPEL
PRASCO LABORATORIES TO THE UNITED STATES DISTRICT COURT FOR THE
               EASTERN DISTRICT OF PENNSYLVANIA

       Value Drug Company (“Value Drug”), pursuant to Rule 45(f) of the Federal Rules of

Civil Procedure, moves to transfer its Motion to Compel Prasco Laboratories (ECF No. 1)

(“Motion to Compel”) to the United States District Court for the Eastern District of

Pennsylvania. Value Drug seeks transfer of the Motion to Compel for several reasons: First,

transfer is warranted to avoid disrupting the management of the underlying litigation, particularly

in light of the appointment of a Special Master in the underlying litigation to handle precisely

such disputes as this one. Second, the subpoena recipient, Prasco Laboratories (“Prasco”), is a

large, sophisticated, national company and its counsel maintains an office within the Eastern

District of Pennsylvania such that Prasco would not be burdened by having to litigate in

Pennsylvania. In addition, Prasco’s burden may be minimal in light of the likely ability of

counsel to appear remotely as recommended by the advisory committee for the 2013 amendment

to Rule 45(f). A brief in support of Value Drug’s Motion to Transfer follows.
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Dated: April 4, 2022               VORYS, SATER, SEYMOUR AND
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                       IN THE UNITED STATES DISTRICT COURT
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 VALUE DRUG COMPANY, on behalf of
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                                                    Case No. 1:22-mc-00013
 v.

 TAKEDA PHARMACEUTICALS U.S.A.,                     Underlying action:
 INC., et al.                                       Case No. 2:21-cv-03500 (E.D. Pa.)




              MEMORANDUM IN SUPPORT OF VALUE DRUG COMPANY’S
                          MOTION TO TRANSFER

I.        INTRODUCTION

          This miscellaneous action concerns Value Drug Company’s Motion to Compel (ECF No.

1)1 seeking the production of transaction-level sales data from non-party Prasco Laboratories

(“Prasco”). Value Drug Company’s Subpoena to Prasco was issued in connection with litigation

pending before the Honorable Mark A. Kearney in the United States District Court for the

Eastern District of Pennsylvania (“the Pennsylvania Action”). In the Pennsylvania Action, Value

Drug Company (“Value Drug”) alleges that Defendants2 conspired to delay competition, reduce

output, and maintain monopoly prices for the brand gout drug Colcrys in violation of Section 1




      1
     Value Drug’s Motion to Compel has been filed contemporaneously with the current motion.
Value Drug’s Motion to Compel concerns a subpoena duces tecum served by Value Drug on Prasco
on September 13, 2021. The September 13, 2021 subpoena to Prasco is attached as Ex. 1 to the
Declaration of Caitlin G. Coslett in support of Value Drug’s Motion to Compel (hereinafter, the
“Subpoena”).
      2
     Defendants in the Pennsylvania Action are Takeda Pharmaceuticals U.S.A., Inc. (“Takeda”),
Teva Pharmaceutical Industries Ltd. (“Teva Ltd.”), Teva Pharmaceuticals USA, Inc. (“Teva USA”),
Watson Laboratories, Inc., Amneal Pharmaceuticals LLC, and Par Pharmaceutical, Inc. (“Par”) (all
defendants collectively, “Defendants”).


                                                3
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of the Sherman Act. Value Drug also contends that the combined effect of the alleged conduct

constitutes violations of Section 2 of the Sherman Act for monopolization and conspiracy to

monopolize. Defendants allegedly agreed to have one Defendant, Par, replace Prasco as the

distributor of Defendant Takeda’s “authorized generic”3 version of Colcrys and have Prasco exit

the generic Colcrys market.4 Prasco, from approximately January 2015 through July 2018, was

the only seller of generic Colcrys.5

         As set forth in the Motion to Compel, Value Drug seeks to compel Prasco to produce

transaction-level sales data for authorized generic Colcrys during this period.

         Transfer is appropriate because the Eastern District of Pennsylvania is a more efficient

venue to adjudicate Value Drug’s Motion to Compel against Prasco. The Eastern District of

Pennsylvania has experience with the facts of the complex underlying case. A Special Master has

been appointed to resolve discovery disputes, and he has already evaluated the relevance of

certain documents, ruling on one motion to compel. In addition, Prasco will face little burden

litigating the Motion to Compel in Pennsylvania because Prasco is a national company and its

counsel maintains offices within the Eastern District of Pennsylvania. Moreover, as

recommended by the advisory committee for the 2013 amendment to Rule 45(f), Prasco’s

counsel would (with Value Drug’s consent) likely be afforded the ability to appear remotely.

Value Drug therefore respectfully requests the transfer of the Motion to Compel to the Eastern

District of Pennsylvania.


   3
     An “authorized generic” is a generic version of a brand drug produced by the brand-name
company or produced by a third party licensed to do so. See FTC v. AbbVie Inc., 976 F.3d 327, 339
(3d Cir. 2020) (describing authorized generics and the role of authorized generics in pharmaceutical
competition).
   4
    First Amended Class Action Complaint, ¶¶ 110-11, Value Drug Company v. Takeda
Pharmaceuticals, U.S.A., Inc. et al., 2:21-cv-03500 (E.D. Pa. Jan. 18, 2022), ECF No. 163.
   5
       Id. ¶¶ 103, 111.


                                                  4
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II.        PROCEDURAL HISTORY

           Value Drug filed its initial complaint in the Eastern District of Pennsylvania on August 5,

2021. The case is assigned to the Honorable Mark Kearney. Value Drug filed an Amended

Complaint on January 18, 2022, which Defendants moved to dismiss. On March 30, 2022, Judge

Kearney denied Defendants’ motions to dismiss the Amended Complaint as to Value Drug’s

claims for an overarching conspiracy to restrain trade, monopolization, and conspiracy to

monopolize.6 Judge Kearney has instructed the parties to proceed with discovery,7 and has

appointed retired federal Judge Thomas I. Vanaskie as Special Master to oversee discovery

disputes.8 To date, two motions to compel in the Pennsylvania Action have been before the

Special Master9 and one has been resolved.10 Under the Court-ordered schedule in the

Pennsylvania Action, Value Drug’s class certification reports are due in less than four months, on

July 21, 2022, and a twenty-two-day jury trial is scheduled to begin on February 27, 2023.11




      6
     See Memorandum-Order, Value Drug Company v. Takeda Pharmaceuticals, U.S.A., Inc. et al.,
2:21-cv-03500 (E.D. Pa. Mar. 30, 2022), ECF No. 207.
      7
     See Order, Value Drug Company v. Takeda Pharmaceuticals, U.S.A., Inc. et al., 2:21-cv-03500
(E.D. Pa. Feb. 11, 2022), ECF No. 173 (“nothing in this Order allows a party or non-party to impede
discovery based on pending motion”).
      8
     Order, Value Drug Company v. Takeda Pharmaceuticals, U.S.A., Inc. et al., 2:21-cv-03500
(E.D. Pa. Mar. 15, 2022), ECF. No. 198 (appointing as special discovery master, under Fed. R. Civ.
P. 53, Thomas I. Vanaskie retired Judge of the U.S. Court of Appeals and retired Chief Judge of the
U.S. District Court for the Middle District of Pennsylvania).
      9
     Motion to Compel, Value Drug Company v. Takeda Pharmaceuticals, U.S.A., Inc. et al., 2:21-
cv-03500 (E.D. Pa. Mar. 2, 2022), ECF No. 182; Motion to Compel, Value Drug Company v. Takeda
Pharmaceuticals, U.S.A., Inc. et al., 2:21-cv-03500 (E.D. Pa. Mar. 25, 2022), ECF No. 205.
      10
      Special Master Recommended Order No. 1, Value Drug Company v. Takeda Pharmaceuticals,
U.S.A., Inc. et al., 2:21-cv-03500 (E.D. Pa. Mar. 31, 2022), ECF No. 210 (granting, in part, Value
Drug’s motion to compel).
      11
       Scheduling Order, ¶¶ 11, 22, Value Drug Company v. Takeda Pharmaceuticals, U.S.A., Inc. et
al., 2:21-cv-03500 (E.D. Pa.) (Oct. 4, 2021), ECF No. 94.


                                                    5
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III.        LEGAL STANDARD

            Prasco, the subpoena recipient, is headquartered in this District in Mason, Ohio, and

Value Drug’s subpoena directed Prasco to produce documents in this District. Accordingly,

Value Drug filed the Motion to Compel in this Court.12 Litigation over the Motion to Compel,

however, should be conducted in the Eastern District of Pennsylvania, where the underlying

action is pending and where Special Master Vanaskie can oversee the Motion to Compel,

together with the other discovery motion presently pending before him, as well as any others he

hears.

            In similar circumstances, courts in this District transfer litigation to the court overseeing

the underlying case. See Williams v. Lasik Vision Institute, LLC, 2021 WL 4059308, at *4 (S.D.

Ohio Sept. 7, 2021) (transferring motion to compel subpoena to court hearing underlying class

action); Parker Compound Bows, Inc. v. Hunter’s Manufacturing Co. Inc., 2015 WL 7308655, at

*2 (N.D. Ohio Nov. 19, 2015) (granting transfer); F.T.C. v. A± Fin. Ctr., LLC, 2013 WL

6388539, at *4 (S.D. Ohio Dec. 6, 2013) (granting transfer). Rule 45 allows the court of

compliance to “transfer a motion under this rule to the issuing court.” Fed. R. Civ. P. 45(f). “The

decision of whether to transfer under Fed. R. Civ. P. 45(f) is discretionary.” Williams, 2021 WL

4059308, at *2 (citing Hausauer v. Trustedsec, LLC, 2020 WL 6826368, at *6 (N.D. Ohio Nov.

20, 2020)). Courts deciding whether to transfer a motion to compel pursuant to Fed. R. Civ. P.

45(f) consider “a number of factors, including case complexity, procedural posture, duration of

pendency, and the nature of the issues pending before, or already resolved by, the issuing court

in the underlying litigation.” Id.




       12
      Motions to compel production of documents requested by subpoena must be initially filed in
the court where compliance is required. Fed. R. Civ. P. 45(d)(2)(B)(i).


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        “A judge who is fully familiar with the underlying litigation is in a better position to

resolve such issues than a judge in a different district with no knowledge of the case.” Stanziale

v. Pepper Hamilton LLP, 2007 WL 473703, at *5 (S.D.NY. Feb. 9, 2007). See also Parker

Compound Bows, 2015 WL 7308655, at *2 (granting transfer in part because the issuing court

had “developed an understanding of the factual predicates implicated in this motion”); A+ Fin.

Ctr., LLC, 2013 WL 6388539, at *4 (granting transfer of the motion to compel because “the

wisest course is to permit the court most familiar with the parties’ dispute . . . to fully and finally

resolve that dispute”). This is true when arguments supporting and opposing the motion, such as

relevance, privilege, and confidentiality, have been considered by the court where the action is

pending. Stanziale, 2007 WL 473703, at *5 (privilege); Patriot Nat. Ins. Group v. Oriska Ins.

Co., 973 F. Supp. 2d 173, 176 (N.D.N.Y. 2013) (relevance); U.S. v. Star Scientific, Inc., 205 F.

Supp. 2d 482, 488 (D. Md. 2002) (confidentiality).13

        In addition to avoiding disrupting substantive rulings, a transfer may be warranted “in

order to avoid disrupting the issuing court’s management of the underlying litigation.” Parker

Compound Bows, 2015 WL 7308655, at *1. See Deman Data Sys. v. Schweikert, 2015 WL

12977016, at *2 (E.D. Ky. Jan. 12, 2015) (granting transfer “most import[antly] . . . [because] its

ruling on the pending Motion to Compel could disrupt the Florida District Court’s management

of the Florida case”).




   13
       As discussed in Value Drug’s Motion to Compel, Prasco’s primary objection to the Subpoena
is the confidentiality of its transactional sales data. However, the Pennsylvania Action has already
considered and ruled on confidentiality issues. See, e.g., Order, Value Drug Company v. Takeda
Pharmaceuticals, U.S.A., Inc. et al., 2:21-cv-03500 (E.D. Pa. Jan. 18, 2022), ECF No. 161 (granting
motion to seal for good cause shown). Resolving the confidentiality questions in this Court would be
duplicative or may lead to inconsistent rulings.


                                                   7
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        Finally, transfer is particularly warranted in complex multi-defendant cases (like this one)

involving corporate conspiracy with substantial damages because “[t]he materials submitted to

[the Court] thus necessarily represent but one piece of a much bigger puzzle.” Star Scientific,

205 F. Supp. 2d at 487. Such a case “clearly would fall within that category of cases in which

transfer is appropriate.” Id.

IV.     ARGUMENT

        A.      The Eastern District of Pennsylvania is the appropriate court to consider
                Value Drug’s Motion to Compel.

        Value Drug’s motion to transfer should be granted because the Eastern District of

Pennsylvania has a vested interest in deciding issues pertinent to the underlying case as well as

managing the underlying case’s schedule. As set forth in the Motion to Compel, Value Drug’s

motion to compel implicates issues important to the Pennsylvania Action. Judge Kearney, having

already decided several motions, has familiarity with the underlying facts and with such issues as

relevance, confidentiality, and privilege. Moreover, in the Pennsylvania Action, several

discovery motions have been presented to a court-appointed Special Master, who has particular

familiarity with the underlying facts and disputes about relevance. Indeed, the Special Master

has already ruled on one such motion to compel and so is best-suited to address the motion to

compel against Prasco. Judge Kearney has also directed the parties to proceed expeditiously in

the underlying case to prepare for trial within the next year. Transfer to the Eastern District of

Pennsylvania will, therefore, allow for Value Drug’s Motion to Compel to be timely heard by a

judge or special master who is very familiar with the facts of the case and status of discovery.

Courts grant motions to transfer where the underlying court’s involvement is similarly extensive.

Deman Data Sys., 2015 WL 12977016, at *2 (granting motion to transfer based on the issuing

court’s “extensive involvement in managing the . . . case”); Patriot Nat. Ins. Group, 973 F. Supp.



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2d at 176 (granting motion to transfer because the underlying court “is far better positioned to

hear arguments relating to . . . the disputed subpoena” in light of the underlying court’s

“extensive involvement, as evidenced by the docket in the underlying action”).

        The complexity of the case also supports transfer. Plaintiff Value Drug alleges a

conspiracy among the Defendants to restrict output and restrain competition of a generic drug.

As part of the allegedly unlawful conspiracy, Defendants agreed to have another drug company

replace Prasco as a distributor of authorized generic version of Colcrys. Star Scientific, 205 F.

Supp. 2d at 487 (granting motion to transfer because “the underlying litigation is complex,

alleging a conspiracy involving six corporate defendants and their parent companies . . . and

resulting in potential damages in the hundreds of billions of dollars”). Transfer is appropriate

here because the sales data at issue in the Motion to Compel is relevant to important pieces in a

complex evidentiary puzzle already being assembled in the Pennsylvania Action.

        B.     The benefits of transfer outweigh any burden to Prasco.

        Transfer would not be overly burdensome to Prasco. Prasco is a pharmaceutical company

that regularly conducts business nationwide. Further, counsel representing Prasco has offices in

thirty cities, including an office in the Eastern District of Pennsylvania.14 Moreover, Federal Rule

45(f) allows for attorneys admitted in the compliance court to file in the issuing court without the

need to obtain local counsel. Additionally, the advisory committee for the 2013 amendment to

Rule 45(f) recommended using telecommunication techniques and devices to avoid any onerous

travel expenses on the responding party, to the extent they exist. Federal courts have integrated

such telecommunication techniques, including video hearings and appearances, as standard




   14
      See https://www.dinsmore.com/office-locations/philadelphia-pa/ (“Our services include. . .
general commercial litigation in both federal and state courts”).


                                                 9
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practice over the last two years. See Cadence Pharms., Inc. v. Multisorb Techs., Inc., 2016 WL

4267567, at *6 (W.D.N.Y. Aug. 15, 2016) (rejecting nonparty’s burden argument in light of Rule

45’s allowances). Value Drug would have no objection to such remote participation in connection

with the Motion to Compel by Prasco’s counsel in the Pennsylvania Action. The burden to

practice in either jurisdiction will be the same.

V.     Conclusion

       For all the foregoing reasons, Value Drug respectfully requests that this Court grant its

motion to transfer the Motion to Compel to the United States District Court for the Eastern

District of Pennsylvania.

 Dated: April 4, 2022                         VORYS, SATER, SEYMOUR AND
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                                CERTIFICATE OF SERVICE

       I, Emily E. St. Cyr, hereby certify that on April 4, 2022, I caused a copy of the foregoing

document to be served via email upon the following counsel for Prasco Laboratories:



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